Case 2:19-cr-00282-RGK Document 348-2 Filed 02/28/22 Page 1 of 5 Page ID #:5781




                  
                  
                  
             Exhibit406
Case 2:19-cr-00282-RGK Document 348-2 Filed 02/28/22 Page 2 of 5 Page ID #:5782
Case 2:19-cr-00282-RGK Document 348-2 Filed 02/28/22 Page 3 of 5 Page ID #:5783

                                           Perfectus Aluminium Inc (7)
                                                    Balance Sheet
                                                   As of June 30, 2015   June 30, 15
    ASSETS
       Current Assets
           Total Checking/Savings                                              1,890,786.16

           Accounts Receivable
                1200000 · Accounts Receivable                                  1,423,315.90

           Other Current Assets
              1200200 · Inventory - Custom & Duty                             26,350,332.38
              1200300 · Inventory - Freight In                                 4,683,691.97
              1200100 · Inventory Asset                                    1,503,577,035.25
           Total Other Current Assets                                      1,534,611,059.60


       Total Current Assets                                                1,537,925,161.66


           Other Assets
           1403000 · Loan receivable                                         10,945,872.48
           1560000 · AP Purchase & Prepaid Expense                             2,121,400.00
           1408000 · Money Transfer - Perfectus                              12,064,427.64
           1400300 · Investment in Signature(Canada)                         42,944,647.43
           1400500 · Investment in AluminShapes (NJ)                        139,109,962.50
       Total Other Assets                                                   207,186,310.05

       Fixed Assets
           1705500 · Accum. Depreciation                                        (561,840.50)
           1705000 · Truck/Computer/Furniture/Warehouse Equip.                  916,393.87
       Total Fixed Assets                                                       354,553.37


    TOTAL ASSETS                                                           1,745,466,025.08

    LIABILITIES & EQUITY
       Liabilities
                Total Accounts Payable                                      527,487,742.58
                Total Loan Payable                                         1,296,136,599.79


       Total Liabilities                                                   1,823,624,342.37

       Equity
           3200000 · Additional Paid in Captial                                2,000,000.00
           3101000 · Captial Stock                                             1,410,000.00
           Retained Earnings                                                 (80,190,120.71)
           Net Income                                                         (1,378,196.58)
       Total Equity                                                          (78,158,317.29)


    TOTAL LIABILITIES & EQUITY                                             1,745,466,025.08



                                                                                 USAO_00874374

                                                  Exhibit 406
                                                    2 of 4
Case 2:19-cr-00282-RGK Document 348-2 Filed 02/28/22 Page 4 of 5 Page ID #:5784
11:59 AM                                Perfectus Aluminium Inc (7)
07/20/15
Accrual Basis                                 Profit & Loss
                                           April through June 2015

                                                                       Apr - Jun 15
    Ordinary Income/Expense
           Income
               4010001 · Sales Extrusion                                   3,230,988.60
               4080000 · Trucking Fee                                            625.00
               4050000 · Sales Adjusments (Invoice Cor                        -2,265.40
               4090000 · Damaged Goods                                       -22,189.24
           Total Income                                                    3,207,158.96

            Cost of Goods Sold
               Inventory Adjustment                                           26,392.55
               5010000 · Cost of Goods Sold                                2,756,176.90
               5101000 · Freight In                                           34,972.53
               5102000 · Customs & Duties                                     25,340.38
            Total COGS                                                     2,842,882.36

        Gross Profit                                                         364,276.60

            Expense
                5030000 · Wood Pallet                                          6,838.68
               5201000 · Freight Out                                          13,911.00
               5109000 · Bundle Storage Fees                                  15,949.62
               5301000 · Commissions Paid                                     12,121.24
               6010010 · Salaries & Wages                                    295,228.31
               6040000 · Bank Service Charges                                    453.34
               6110000 · Payroll Taxes - FICA                                 26,310.53
               6130010 · Payroll Tax - SUI & ETT                              11,360.07
               7002000 · Advertising                                           1,181.40
               7022000 · Auto Expense                                         10,312.98
               7042000 · Computer Supplies & Expenses                          2,337.01
               7067000 · Depreciation - Truck/F&F/Equipm                      17,424.75
               7073000 · Equipment Rental                                     14,475.93
               7081000 · Insurance - Health/Vision/Dental/Workers C           72,735.92
               7090000 · Legal/Profess. Fee/License                          100,086.44
               7130000 · Membership Fee                                        4,364.10
               7180000 · Moving Expense
                   7180010 · Moving - Freight Out                            120,575.00
                   7180015 · Moving - Outside Service                         79,994.66
                   7180000 · Moving Expense - Other                           20,008.63
               7201000 · Office Expense                                       24,177.54
               7210000 · Outside Services                                     21,449.16
               7320000 · Sales Taxes                                             300.00
               7322010 · Sample                                                7,913.80
               7321000 · Security & Fire Alarm System                        105,972.00
               7401000 · Travel - Hotel/Airticket/Meals/Car Retental          47,391.34
               7501000 · Utilities - Electric/Water/Gas/Trash                 16,438.75
               7610000 · Warehouse supplies/Expenses                          31,967.14
            Total Expense                                                  1,060,529.66

    Net Ordinary Income                                                     -696,253.06




                                                                                                Page 1 of 2
                                                                                          USAO_00874375
                                                  Exhibit 406
                                                    3 of 4
Case 2:19-cr-00282-RGK Document 348-2 Filed 02/28/22 Page 5 of 5 Page ID #:5785
11:59 AM                            Perfectus Aluminium Inc (7)
07/20/15
Accrual Basis                                Profit & Loss
                                           April through June 2015

                                                                     Apr - Jun 15

    Other Income/Expense
       Other Income
           8100000 · Interest Income                                           782.99
           8000000 · Miscellaneou income                                     5,849.12
       Total Other Income                                                    6,632.11

        Other Expense
           9100000 · State Income Tax                                        1,000.00
        Total Other Expense                                                  1,000.00

    Net Other Income                                                         5,632.11

Net Income                                                                -690,620.95




                                                                                               Page 2 of 2
                                                                                        USAO_00874375
                                                 Exhibit 406
                                                   4 of 4
